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                              United States District Court
                                    District of Maine
In Re:                       )
                             )
COURT OPERATIONS UNDER       )
THE EXIGENT CIRCUMSTANCES )
CREATED BY THE COVID-19      )                 GENERAL ORDER 2021-6
CORONAVIRUS & RELATED        )                 (Amended August 3, 2021)
PANDEMIC PRECAUTIONS:        )                 (Amended August 31, 2021)
THE USE OF FACE COVERINGS    )                 (Amended December 10, 2021)
OR MASKS IN COURT FACILITIES )                 (Amended January 12, 2022)
                             )                 (Amended March 22, 2022)
                             )                 (Amended May 20, 2022)
                             )                 (Amended September 12, 2022)
                             )                 (Amended February 10, 2023)


    GENERAL ORDER REGARDING MASKS AND COURTHOUSE ENTRY
                      REQUIREMENTS

       This General Order is issued in response to the COVID-19 pandemic in
accordance with the Pandemic/Infectious Disease Plan for the United States District
Court for the District of Maine (March 2020). The Court adopts and incorporates the
findings made in its previous General Orders as to the threat to public health and
safety presented by the COVID-19 pandemic.

         Accordingly, to protect public health and safety, it is hereby ORDERED:

   1. Applicability. The following requirements apply to the Edward T. Gignoux
      Courthouse in Portland, the U.S. Probation and Pretrial Services Offices in
      Bangor and Portland, the U.S. Bankruptcy Court in Portland, and the third
      floor of the Margaret Chase Smith Federal Building in Bangor (“the
      Courthouses or court-occupied spaces.”).

   2. Masks.

            a. “High” Community Level Designation by the U.S. Centers for Disease
               Control and Prevention. All persons seeking entry to the Courthouses




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           and court-occupied spaces are required to wear a mask while they are
           inside the Courthouse or court-occupied spaces if the Courthouse or
           court-occupied space is in a county which the CDC designates as having
           a “high” community level. See https://www.cdc.gov/coronavirus/2019-
           ncov/your-health/covid-by-county.html. Every Friday morning, Court
           Unit Executives will post notices on the District’s websites and post
           signs at all entrances to the affected Courthouses and/or court-occupied
           spaces that will apply for the next seven days if masks are required
           pursuant to this provision.

        b. Criminal and Civil Proceedings. Masks may be required in any
           proceeding in which the presiding Judge determines the same to be
           necessary. In addition, a person participating in a proceeding may wear
           a mask if the person wishes to do so, with the approval of the presiding
           Judge.

        c. When masks are required, masks must completely cover the mouth and
           nose. Masks should fit snugly against the sides of the face.

        d. When masks are required, qualifying face masks include ASTM-rated
           Level 3 surgical masks, KF94, KN95, and N95 masks. Cloth masks may
           be worn only when a qualifying mask is worn beneath the cloth mask.

        e. The Court will provide, without charge, Level 3 surgical masks to all
           employees and visitors in need of a qualifying face mask.

        f. When masks are required, masks must be worn in all publicly accessible
           areas of the Courthouses and court-occupied spaces, including court
           security screening entrances, hallways, courtrooms, conference rooms,
           restrooms, and elevators, unless otherwise directed by a Judge. If the
           wearer is a court employee who is up to date on vaccinations and who is
           alone in a private office, cubicle, or workspace where at least six feet of
           physical distance from other persons can be maintained, the wearer may
           temporarily remove the mask. A person is considered up to date on
           vaccinations if the person has received all available doses in the primary
           COVID-19 vaccination series and all available boosters for which the
           person is eligible.




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        g. Masks are not required for children under age 2, anyone who has trouble
           breathing or related medical conditions, or anyone who is unable to
           remove the mask without assistance. A person who cannot wear a mask
           because of a medical condition is not required to produce medical
           documentation of the condition, except that the Court may require such
           documentation from an employee in accordance with state and federal
           law.

  3. Entry Restrictions. Regardless of vaccination status:

        a. A person may not enter the Courthouses or court-occupied spaces if the
           person is unwilling to comply with the requirements of this Order.

        b. A person who has (i) tested positive for COVID-19 within the past 10
           days, (ii) been told to presume that they have COVID-19 by a health
           professional, (iii) COVID-19 symptoms, or (iv) recently had close contact
           with someone who has COVID-19, must comply with all requirements
           of the U.S. Centers for Disease Control and Prevention and may not
           enter so long as the person is recommended to isolate in accordance with
           CDC       guidance:     https://www.cdc.gov/coronavirus/2019-ncov/your-
           health/quarantine-isolation.html.

     If you are scheduled or required to appear and you are unable to appear
     because of the restrictions in this Order, you are directed to contact the
     appropriate person listed in the Points of Contact in Appendix A to this Order.

  4. Points of Contact. Members of the public who have questions about the entry
     requirements or other provisions of this Order are encouraged to contact the
     Points of Contact listed in Appendix A to this Order.

  5. Effectiveness; Termination. This General Order supersedes General
     Orders 2020-7 and 2020-13, as well as the Court’s Plan for Resuming Trials
     (Apr. 13, 2021) and Protocols Concerning In-Person Court Proceedings During
     COVID-19 Pandemic (Apr. 20, 2021). This General Order takes effect
     immediately and shall remain in effect until further Order of the Court.




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   SO ORDERED.


   Dated: February 10, 2023


                                                       /s/ Jon D. Levy
                                                 CHIEF U.S. DISTRICT JUDGE

Note Regarding August 3, 2021, Amendment:

General Order 2021-6, originally entered on June 28, 2021, is amended effective
August 3, 2021, to align the Court’s mask requirements with updated CDC guidance
regarding mask-wearing in areas with substantial or high community transmission
rates.

Note Regarding August 31, 2021, Amendment:

General Order 2021-6, as amended on August 3, 2021, is amended effective August
31, 2021, to require all persons, regardless of vaccination status, to wear masks in all
publicly accessible areas of the Courthouse and court-occupied spaces.

Note Regarding December 10, 2021, Amendment:

General Order 2021-6, originally entered on June 28, 2021 and subsequently
amended on August 3, 2021 and August 31, 2021, is amended effective December 20,
2021, in response to an ongoing surge in COVID-19 cases due to the Delta variant, as
reflected by Maine CDC tracking data, see Ctrs. for Disease Control & Prevention,
COVID Data Tracker, https://covid.cdc.gov/covid-data-tracker/#county-view, by
adding subsection (3)(e) which requires persons with a speaking role in an in-court
proceeding who will remove their masks to submit to rapid antigen testing, and to
provide for the testing of persons in custody.

Note Regarding January 12, 2022, Amendment:

General Order 2021-6, originally entered on June 28, 2021 and subsequently
amended on August 3, 2021, August 31, 2021, and December 10, 2021, is amended
effective January 12, 2022, in response to an ongoing surge in COVID-19 cases due
to the Delta and Omicron variants, as reflected by Maine CDC tracking data,
https://covid.cdc.gov/covid-data-tracker/#county-view, by specifying the types of
qualifying face masks. The Omicron variant has been shown to be more transmissible
than the original SARS-CoV-2 virus, see https://www.cdc.gov/coronavirus/2019-




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ncov/variants/omicron-variant.html, and therefore requires face masks which provide
a consistent level of respiratory protection.

Note Regarding March 22, 2022, Amendment:

General Order 2021-6, originally entered on June 28, 2021 and subsequently
amended on August 3, 2021, August 31, 2021, December 10, 2021, and January 12,
2022, is amended effective March 23, 2022, to eliminate the physical distancing
requirement and remove the mask requirement for all proceedings except multi-day
proceedings, grand jury proceedings, empanelment, jury trials, and large gatherings.
This relaxation of the physical distancing and mask requirements is made in
consultation with the Court’s Covid-19 consultant and in response to the reduction of
the rate of infections related to the Omicron variant.

Note Regarding May 20, 2022, Amendment:

General Order 2021-06, as previously amended, is amended effective May 20, 2022,
in response to a substantial increase in the spread of COVID-19. The amendments
update the District’s mask requirements, vaccination requirements, and entry
restrictions by adopting or referencing standards of the Centers for Disease Control
and Prevention.

Note Regarding September 12, 2022, Amendment

General Order 2021-06, as previously amended, is amended effective September 12,
2022, to eliminate the requirement in subsection 2(b) that participants in grand jury
proceedings be masked. This relaxation of requirements is based in part on updated
guidance issued in August 2022 by the Centers for Disease Control and Prevention.
Additionally, the term “fully vaccinated” was changed to “up to date” on vaccinations,
and the definition was changed to reflect that an individual must have received all
boosters for which they are eligible and that are available in order to be up to date on
vaccinations. Finally, minor changes to the language of this Order were made to keep
it in accordance with the language used by the Centers for Disease Control and
Prevention in its updated guidance.

Note Regarding February 10, 2023, Amendment

General Order 2021-06, as previously amended, is amended effective February 10,
2023, so as to, among other things, restrict mandatory mask requirements to (1)
periods in which the Courthouse or court-occupied space is in a county which the CDC




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has designated as having a “high” community level; and (2) proceedings in which the
presiding Judge determines the same to be necessary.




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                        Appendix A – Points of Contact

  •   If you are represented by an attorney, contact your attorney.

  •   If you are represented by the Federal Public Defender:
          o Portland: (207) 553-7070
          o Bangor: (207) 992-4111

  •   Anyone having business with the U.S. Attorney’s Office:
        o Portland: (207) 780-3257
        o Bangor: (207) 945-0373

  •   Anyone having business with the U.S. Marshals Service:
        o Portland: (207) 780-3355
        o Bangor: (207) 945-0416

  •   If you are scheduled to meet with a U.S. Probation or Pretrial Services
      Officer:
          o Portland: (207) 780-3358
          o Bangor: (207) 945-0369

  •   If you are a juror, or if you have any other business with the District Court,
      an attorney, or a pro se party, please contact the Clerk’s Office:
          o Portland: (207) 780-3356
          o Bangor: (207) 945-0575

  •   If you have business with the U.S. Bankruptcy Court, please contact the
      U.S. Bankruptcy Court Clerk’s Office:
          o Portland: (207) 780-3482
          o Bangor: (207) 945-0348




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